Case 1:07-cr-00166-SEB-KPF Document 50 Filed 10/15/08 Page 1 of 6 PageID #: 61
Case 1:07-cr-00166-SEB-KPF Document 50 Filed 10/15/08 Page 2 of 6 PageID #: 62
Case 1:07-cr-00166-SEB-KPF Document 50 Filed 10/15/08 Page 3 of 6 PageID #: 63
Case 1:07-cr-00166-SEB-KPF Document 50 Filed 10/15/08 Page 4 of 6 PageID #: 64
Case 1:07-cr-00166-SEB-KPF Document 50 Filed 10/15/08 Page 5 of 6 PageID #: 65
Case 1:07-cr-00166-SEB-KPF Document 50 Filed 10/15/08 Page 6 of 6 PageID #: 66
